Dear Auditor Schweich:
This office received your letter of February 10, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Russell Purvis (version 3). The fiscal note summary that you submitted is as follows:
  Annual estimated savings to State government would be at least$4.7 million. No fiscal impact is expected for local governments.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by Statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                              Very truly yours,
                                              _________________________ CHRIS KOSTER Attorney General *Page 1 